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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )                  8:05CR252
      vs.                                     )
                                              )                   ORDER
JACKIE GARCIA,                                )
                                              )
                    Defendant.                )



       This matter is before the court on defendant's unopposed MOTION TO EXTEND
DATE FOR FILING PRETRIAL MOTIONS AND TRIAL DATE [38]. For good cause shown, I find
that the motion should be granted. The defendant will be given the requested
extension that has been granted to co-defendants. Pretrial Motions shall be filed by
September 2, 2005.

      IT IS ORDERED:

      1.     Defendant's MOTION TO EXTEND DATE FOR FILING PRETRIAL MOTIONS AND
TRIAL DATE [38] is granted. Pretrial motions shall be filed on or before September 2,
2005. A trial date will be set by further order of the court.

       2.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time
between July 22, 2005 and September 2, 2005, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of
this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

      DATED July 25, 2005.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
